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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90739
      Alpine Summit Energy Partners, Inc.



      Case Type :                    bk
      Case Number :                  2023-90739
      Case Title :                   Alpine Summit Energy Partners, Inc.

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